                       EXHIBIT B




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                      CERTIFICATION OF NAMED PLAINTIFF
                    PURSUANT TO FEDERAL SECURITIES LAWS

       Amalgamated Bank, as Trustee for the LongView Collective Investment Fund

("Plaintiff") declares;

              Plaintiff has reviewed a complaint and authorized its filing.

              Plaintiff did not acquire the security that is the subject of this action at the

direction of plaintiffs counsel or in order to participate in this private action or any other

litigation under the federal securities laws.
              Plaintiff is willing to serve as a representative party on behalf of the class,

including providing testimony at deposition and trial, if necessary.

       4      Plaintiff has made the following transaction(s) during the Class Period in

the securities that are the subject of this action:

Security                  Transaction                    Date                       Price Per Share

                                    See attached Schedule A.

              Plaintiff has not sought to serve or served as a representative party in a

class action that was filed under the federal securities laws within the three-year period

prior to the date of this Certification except as detailed below:
                    Menold v. Navient Corporation, el al.. No. 1: l6-cv-00075 (D. Del.)


       6.      The Plaintiff will not accept any payment for serving as a representative

party on behalf of the class beyond the Plaintiff s pro rata share of any recovery, except

such reasonable costs and expenses (including lost wages) directly relating to the

representation of the class as ordered or approved by the court.

       I declare under penalty of perjury that the foregoing is true and correct. Executed

this /^cfay of October. 2016

                                                 Amalgamated Bank, as Trustee for the
                                                 LongView Collective Investment Fund


                                                 By:
                                                        William Hogan, Senior Vice President,
                                                        Investment Manager


                                                                                                      CCA


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                                            SCHEDULE A

                                      SECURITIES TRANSACTIONS

              Acquisitions

                  Date                         Type/Amount of
                Acquired                      Securities Acquired         Price

               03/29/2012                             100                $22.92
               04/04/2012                             100                $22.83
               06/28/2012                             100                $24.62
               07/09/2012                             100                $25.53
               10/02/2012Aa
               10/02/2012                            4,000               $28.47
               10/05/2012                             100                $29.04
               10/15/2012                            1,000               $28.37
               10/17/2012                             200                $28.61
               12/03/2012                             315                $29.77
               12/12/2012                             100                $30.53
               12/17/2012Aa
               12/17/2012                            8,500               $30.00
               12/18/2012
               12/18/2012                             536                $30.03
               12/19/2012Aa
               12/19/2012                            4,081               $30.16
               02/01/2013Aa
               02/01/2013                           1,443                $32.48
               02/14/2013                             100                $32.33
               02/19/2013                            2,400               $32.45
               02/19/2013Aa                          3,100               $32.60
               02/20/2013Aa                           139                $31.94
               03/06/2013                            9,600               $32.28
               03/18/2013                             500                $32.48
                                  A
               04/01/2013
               0 4/01/2013a                          3,300               $32.70
               04/18/2013                             100                $34.23
               04/18/2013                            1,500               $33.90
               04/18/2013                           30,500               $33.90
               04/25/2013                             800                $35.87
               04/30/2013                             100                $36.20
               05/17/2013                            5,000               $39.47
               5 / 2 1 / 2 0 1 3D°
               5/21/2013                              146
                                                      146                $38.91
                                D
               5/21/2013
               5/21/2013d                             271                $38.91
                                D
               5/21/2013
               5/21/2013°                           1,555                $38.91
                                D
               5/21/2013
               5/21/2013°                            4,672               $38.91
               06/07/2013                           11,100               $35.85
               06/21/2013                             300                $33.04
               06/28/2013                             731                $33.91
               07/22/2013                           10,700               $33.18
               08/01/2013                             109                $33.10
               08/05/2013                            1,400               $33.16
               08/06/2013                             100                $32.66
               09/20/2013                             900                $34.52
               10/16/2013                             800                $36.96
               11/14/2013                              86                $35.80
               12/20/2013                             300                $32.39
               01/09/2014                            1,500               $32.93
               01/10/2014                             100                $33.18



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                  Date                Type/Amount of
                Acquired             Securities Acquired         Price

               03/03/2014                   600                 $33.48
               03/04/2014                   100                 $33.72
               03/31/2014                     2                 $31.32
               03/31/2014                     5                 $31.32
               03/31/2014                     5                 $31.32
               04/30/2014                    11                 $32.80
                                                                $32.80
               04/30/2014                     3                 $32.80
                                                                $32.80
               05/23/2014                   800                 $32.38
               06/27/2014                    10                 $33.67
               06/27/2014                   645                 $33.67
               07/11/2014                   133                 $33.38
               08/25/2014                  1,500                $35.79
               10/21/2014                  8,800                $35.09
               12/10/2014                    75                 $36.44
               12/12/2014                    36                 $36.69
               12/23/2014                   200                 $37.89
               01/23/2015                   100                 $39.37
               02/18/2015                    60                 $40.85
               03/02/2015                   388                 $40.54
               03/11/2015                   400                 $38.82
               03/13/2015                    18                 $39.23
               03/20/2015                  1,500                $42.10
               04/06/2015                   200                 $40.77
               04/07/2015                   100                 $40.54
               06/01/2015                   700                 $35.52
               06/03/2015                   187                 $35.19
               06/11/2015                   300                 $34.28
               06/17/2015                   131                 $34.42
               06/24/2015                   200                 $33.53
               06/26/2015                    66                 $34.00
               07/09/2015                   300                 $33.77
               07/28/2015                   200                 $34.45
               08/17/2015                   100                 $31.80
               09/01/2015                    11                 $28.77
               09/01/2015                   100                 $28.77
               09/24/2015                    25                 $30.38
               10/02/2015                   100                 $28.95
               10/09/2015                   100                 $30.35
               11/06/2015                    86                 $27.83
               12/01/2015                   300                 $25.77
               12/10/2015                   200                 $24.78
               12/10/2015                  1,800                $24.69
               12/18/2015                     2                 $26.11
               12/28/2015                   500                 $27.26
               01/04/2016                   500                 $27.17
               01/29/2016                    13                 $28.82
               02/01/2016                   400                 $28.96
               03/04/2016                   500                 $30.18
               03/09/2016                   300                 $30.51
               03/29/2016                   400                 $32.90
               04/01/2016                    66                 $32.12
               04/01/2016                    66                 $32.12


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                  Date                Type/Amount of
                Acquired             Securities Acquired         Price

               04/01/2016                   7,100               $32.03
               04/12/2016                  10,800               $31.66
               04/15/2016                    300                $31.66
               04/22/2016                    200                $30.59
               05/05/2016                    200                $33.27
               05/12/2016                    200                $33.25
               05/20/2016                    200                $32.42
               05/27/2016                    300                $33.66
               06/13/2016                    233                $34.15
               06/23/2016                    300                $34.70
               06/24/2016                     10                $34.39
               06/28/2016                    200                $34.85
               06/30/2016                    300                $35.02
               07/11/2016                    400                $32.93
               07/28/2016                    800                $31.64
               07/29/2016                   1,700               $32.05


                 Sales

                  Date                Type/Amount of
                  Sold                Securities Sold            Price

               03/23/2012                   1,400               $22.03
               03/27/2012                    500                $22.56
               04/20/2012                  12,600               $26.69
               04/30/2012                    600                $24.60
               04/30/2012                   4,200               $24.62
               05/31/2012                    900                $22.20
               06/22/2012B                  5,600               $22.63
               04/22/2013                    100                $35.78
               05/08/2013                    600                $38.02
               05/10/2013                   1,400               $38.68
               05/10/2013                  30,500               $38.68
               05/13/2013                    600                $38.66
               05/20/2013                   2,800               $39.31
               05/22/2013                      0                $39.71
               05/22/2013                     11                $39.71
               05/29/2013                   2,200               $35.59
               05/30/2013                   2,000               $35.87
               06/03/2013                     1                 $37.41
               06/03/2013                     11                $37.41
               06/17/2013                   7,300               $34.39
               06/28/2013                    170                $33.87
               06/28/2013                    626                $33.92
               08/16/2013                     62                $33.37
               08/19/2013                   5,100               $33.38
               08/26/2013                     51                $34.03
               09/13/2013                     65                $34.04
               09/16/2013                   4,800               $34.02
               09/30/2013                      3                $34.55
               10/10/2013                     56                $34.81


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                             Date                  Type/Amount of
                             Sold                  Securities Sold         Price

                          10/22/2013
                          10/22/2013                      59              $37.08
                          10/28/2013                     400              $37.89
                          12/03/2013                     100              $33.49
                          12/11/2013                    1,600             $33.12
                          12/11/2013                    4,154             $33.12
                          01/10/2014                     800              $33.38
                          03/25/2014                      68              $32.09
                          05/13/2014                      71              $32.63
                          05/23/2014                     116              $32.38
                          06/27/2014                     736              $33.67
                          07/09/2014                      80              $33.47
                          07/14/2014                    1,500             $33.39
                          09/09/2014                      33              $35.62
                          02/10/2015                      23              $38.59
                          02/12/2015                    1,000             $39.20
                          02/17/2015                     600              $40.11
                          03/26/2015                     700              $40.61
                          03/30/2015                       99             $41.55
                                                                          $41.55
                          04/23/2015                     800              $39.63
                          05/06/2015                      45              $35.93
                          05/21/2015                     700              $35.01
                          06/26/2015                      25              $34.00
                          06/26/2015                    4,600             $34.00
                          06/30/2015                    5,000             $33.08
                          07/01/2015                     300              $33.19
                                     B
                          08/03/2015B
                          08/03/2015                    5,300
                                                        5,300             $35.39
                                     B
                          11/30/2015B
                          11/30/2015                    1,078
                                                        1,078             $25.78
                          02/05/2016
                          02/05/2016                      30              $29.27
                          02/18/2016                     500              $29.58
                          02/23/2016                     100              $28.70
                          02/24/2016                    2,500             $28.75
                          03/15/2016                     800              $31.00
                          04/21/2016                     400              $30.45
                          05/02/2016BB
                          05/02/2016                    1,300
                                                        1,300             $31.01
                          06/24/2016
                          06/24/2016                      11              $34.39
                          06/28/2016                     500              $34.85

*Opening
*Opening position
         position of
                  of 38,479
                     38,479 shares.
                            shares.

A
 Shares that were received in.
B
 Shares that were delivered out.
D
  Stock Dividend




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